UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


GEORGE SANTOS,

                             Plaintiff,

               - against -                             Case No. 1:24-cv-01210-DLC

JAMES C. KIMMEL a/k/a JIMMY KIMMEL,
AMERICAN BROADCASTING COMPANIES,
INC., and THE WALT DISNEY COMPANY,

                             Defendants.



                DECLARATION OF NATHAN SIEGEL IN SUPPORT OF
                 DEFENDANTS’ MOTION TO DISMISS COMPLAINT

       I, Nathan Siegel, declare as follows:

       1.      I am a partner at Davis Wright Tremaine LLP, attorneys for Defendants James C.

Kimmel a/k/a Jimmy Kimmel, American Broadcasting Companies, Inc., and The Walt Disney

Company (collectively, “Defendants”). I submit this declaration in support of Defendants’

motion to dismiss the Complaint.

       2.      The grounds for Defendants’ dismissal motion are set forth in the accompanying

memorandum of law. I submit this declaration for the limited purpose of annexing copies of

documents relevant to the motion. As discussed in the accompanying memorandum of law in

support of the motion to dismiss, these documents are subject to judicial notice and/or

incorporated by reference into the Complaint. By separate letter, Defendants seek leave to lodge

with the Clerk of Court a DVD containing the videos attached as Exhibit 11 and Exhibit 12.

       3.      Attached hereto as Exhibit 1 is a true and correct copy of Cameo’s Terms of

Service, last updated November 22, 2023.
          4.   Attached hereto as Exhibit 2 is a true and correct copy of Cameo’s Community

Guidelines, last updated February 2, 2023.

          5.   Attached hereto as Exhibit 3 is a true and correct copy of an article featuring an

interview by Marcia Kramer entitled “Former Rep. George Santos Says He Makes More Money

from Cameo than He Did in Congress,” published by CBS News on December 10, 2023, which

is also available at https://www.cbsnews.com/newyork/news/george-santos-cameo-income-

congress-the-point-with-marcia-kramer/.

          6.   Attached hereto as Exhibit 4 is a true and correct copy of an article by Bess Levin

entitled “George Santos Is Making a Ridiculous Amount of Money on Cameo,” published in

Vanity Fair on December 6, 2023, which is also available at

https://www.vanityfair.com/news/2023/12/george-santos-cameo-earnings.

          7.   Attached hereto as Exhibit 5 is a true and correct copy of an article by Gloria

Oladipo entitled “George Santos Reportedly Making Six Figures by Selling Cameo Videos:

Disgraced Lawmaker Generating More Income Making Personalized Videos than Previous

Salary as US Congressman,” published in The Guardian on December 6, 2023, which is also

available at https://www.theguardian.com/us-news/2023/dec/06/george-santos-cameo-income-

salary.

          8.   Attached hereto as Exhibit 6 is a true and correct copy of an article entitled

“George Santos Cashing in on Cameo...After Congress Expulsion,” published by TMZ on

December 4, 2023, https://www.tmz.com/2023/12/04/george-santos-joins-cameo-after-expelled-

congress/.




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       9.     Attached hereto as Exhibit 7 is a true and correct copy of a post by George Santos

replying to a post by John Fetterman on Twitter (a/k/a X), dated December 4, 2023 at 4:51 PM,

which is also available at https://twitter.com/MrSantosNY/status/1731793391992643992.

       10.    Attached hereto as Exhibit 8 is a true and correct copy of a post by Cameo on

TikTok, dated December 6, 2023, which is also available at

https://www.tiktok.com/@cameo/video/7309503020906056991.

       11.    Attached hereto as Exhibit 9 is a true and correct copy of an article by Olivia

Craighead entitled “Everyone Wants a George Santos Cameo for Christmas, Apparently,”

published by New York magazine’s The Cut on December 4, 2023, which is also available at

https://www.thecut.com/2023/12/george-santos-has-joined-cameo.html.

       12.    Attached hereto as Exhibit 10 is a true and correct copy of a post by Shakira

Crístal reposting a Cameo video by George Santos on TikTok, dated December 6, 2023, which is

also available at https://www.tiktok.com/@planejanesnewleaf/video/7309703932790459679.

       13.    Attached hereto as Exhibit 11 is the relevant portion of the December 7, 2023

broadcast of Jimmy Kimmel Live!, which is also available at

https://www.youtube.com/watch?v=iyoRHDkJKlo&t=413s.

       14.    Attached hereto as Exhibit 12 is the relevant portion of the December 11, 2023

broadcast of Jimmy Kimmel Live!, which is also available at

https://www.youtube.com/watch?v=5-4SUO4Rlik&t=410s.

       15.    Attached hereto as Exhibit 13 is a true and correct copy of an article by Ross

Anderson entitled “George Santos Is Demanding $20,000 from Jimmy Kimmel for Cameos,”

published in The Spectator on December 11, 2023, which is also available at

https://thespectator.com/topic/george-santos-cameo-jimmy-kimmel-demanding-20000/.




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       16.     Attached hereto as Exhibit 14 is a printout from the U.S. Copyright Office’s

Public Catalog for the copyright registration for “Santos 1,” Registration No. PA 2-449-879.

       17.     Attached hereto as Exhibit 15 is a printout from the U.S. Copyright Office’s

Public Catalog for the copyright registration for “Santos 2,” Registration No. PA 2-449-882.

       18.     Attached hereto as Exhibit 16 is a printout from the U.S. Copyright Office’s

Public Catalog for the copyright registration for “Santos 3,” Registration No. PA 2-451-684.

       19.     Attached hereto as Exhibit 17 is a printout from the U.S. Copyright Office’s

Public Catalog for the copyright registration for “Santos 4,” Registration No. PA 2-451-685.

       20.     Attached hereto as Exhibit 18 is a printout from the U.S. Copyright Office’s

Public Catalog for the copyright registration for “Santos 5,” Registration No. PA 2-451-683.

       21.     Attached hereto as Exhibit 19 is a true and correct copy of a press release entitled

“Congressman George Santos Charged with Conspiracy, Wire Fraud, False Statements,

Falsification of Records, Aggravated Identity Theft, and Credit Card Fraud,” released by the U.S.

Attorney’s Office for the Eastern District of New York on October 10, 2023, which is also

available at https://www.justice.gov/usao-edny/pr/congressman-george-santos-charged-

conspiracy-wire-fraud-false-statements-0.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

       Executed on April 29, 2024.

                                             /s/ Nathan Siegel
                                             Nathan Siegel




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